Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 1 of 102 Page ID
                                    #:793




                                  Exhibit 3                            3-249
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 2 of 102 Page ID
                                    #:794




                                  Exhibit 3                            3-250
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 3 of 102 Page ID
                                    #:795




                                  Exhibit 3                            3-251
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 4 of 102 Page ID
                                    #:796




                                  Exhibit 3                            3-252
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 5 of 102 Page ID
                                    #:797




                                  Exhibit 3                            3-253
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 6 of 102 Page ID
                                    #:798




                                  Exhibit 3                            3-254
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 7 of 102 Page ID
                                    #:799




                                  Exhibit 3                            3-255
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 8 of 102 Page ID
                                    #:800




                                  Exhibit 3                            3-256
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 9 of 102 Page ID
                                    #:801




                                  Exhibit 3                            3-257
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 10 of 102 Page
                                 ID #:802




                                  Exhibit 3                           3-258
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 11 of 102 Page
                                 ID #:803




                                  Exhibit 3                           3-259
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 12 of 102 Page
                                 ID #:804




                                  Exhibit 3                           3-260
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 13 of 102 Page
                                 ID #:805




                                  Exhibit 3                           3-261
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 14 of 102 Page
                                 ID #:806




                                  Exhibit 3                           3-262
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 15 of 102 Page
                                 ID #:807




                                  Exhibit 3                           3-263
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 16 of 102 Page
                                 ID #:808




                                  Exhibit 3                           3-264
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 17 of 102 Page
                                 ID #:809




                                  Exhibit 3                           3-265
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 18 of 102 Page
                                 ID #:810




                                  Exhibit 3                           3-266
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 19 of 102 Page
                                 ID #:811




                                  Exhibit 3                           3-267
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 20 of 102 Page
                                 ID #:812




                                  Exhibit 3                           3-268
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 21 of 102 Page
                                 ID #:813




                                  Exhibit 3                           3-269
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 22 of 102 Page
                                 ID #:814




                                  Exhibit 3                           3-270
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 23 of 102 Page
                                 ID #:815




                                  Exhibit 3                           3-271
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 24 of 102 Page
                                 ID #:816




                                  Exhibit 3                           3-272
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 25 of 102 Page
                                 ID #:817




                                  Exhibit 3                           3-273
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 26 of 102 Page
                                 ID #:818




                                  Exhibit 3                           3-274
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 27 of 102 Page
                                 ID #:819




                                  Exhibit 3                           3-275
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 28 of 102 Page
                                 ID #:820




                                  Exhibit 3                           3-276
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 29 of 102 Page
                                 ID #:821




                                  Exhibit 3                           3-277
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 30 of 102 Page
                                 ID #:822




                                  Exhibit 3                           3-278
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 31 of 102 Page
                                 ID #:823




                                  Exhibit 3                           3-279
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 32 of 102 Page
                                 ID #:824




                                  Exhibit 3                           3-280
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 33 of 102 Page
                                 ID #:825




                                  Exhibit 3                           3-281
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 34 of 102 Page
                                 ID #:826




                                  Exhibit 3                           3-282
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 35 of 102 Page
                                 ID #:827




                                  Exhibit 3                           3-283
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 36 of 102 Page
                                 ID #:828




                                  Exhibit 3                           3-284
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 37 of 102 Page
                                 ID #:829




                                  Exhibit 3                           3-285
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 38 of 102 Page
                                 ID #:830




                                  Exhibit 3                           3-286
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 39 of 102 Page
                                 ID #:831




                                  Exhibit 3                           3-287
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 40 of 102 Page
                                 ID #:832




                                  Exhibit 3                           3-288
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 41 of 102 Page
                                 ID #:833




                                  Exhibit 3                           3-289
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 42 of 102 Page
                                 ID #:834




                                  Exhibit 3                           3-290
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 43 of 102 Page
                                 ID #:835




                                  Exhibit 3                           3-291
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 44 of 102 Page
                                 ID #:836




                                  Exhibit 3                           3-292
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 45 of 102 Page
                                 ID #:837




                                  Exhibit 3                           3-293
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 46 of 102 Page
                                 ID #:838




                                  Exhibit 3                           3-294
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 47 of 102 Page
                                 ID #:839




                                  Exhibit 3                           3-295
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 48 of 102 Page
                                 ID #:840




                                  Exhibit 3                           3-296
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 49 of 102 Page
                                 ID #:841




                                  Exhibit 3                           3-297
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 50 of 102 Page
                                 ID #:842




                                  Exhibit 3                           3-298
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 51 of 102 Page
                                 ID #:843




                                  Exhibit 3                           3-299
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 52 of 102 Page
                                 ID #:844




                                  Exhibit 3                           3-300
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 53 of 102 Page
                                 ID #:845




                                  Exhibit 3                           3-301
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 54 of 102 Page
                                 ID #:846




                                  Exhibit 3                           3-302
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 55 of 102 Page
                                 ID #:847




                                  Exhibit 3                           3-303
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 56 of 102 Page
                                 ID #:848




                                  Exhibit 3                           3-304
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 57 of 102 Page
                                 ID #:849




                                  Exhibit 3                           3-305
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 58 of 102 Page
                                 ID #:850




                                  Exhibit 3                           3-306
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 59 of 102 Page
                                 ID #:851




                                  Exhibit 3                           3-307
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 60 of 102 Page
                                 ID #:852




                                  Exhibit 3                           3-308
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 61 of 102 Page
                                 ID #:853




                                  Exhibit 3                           3-309
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 62 of 102 Page
                                 ID #:854




                                  Exhibit 3                           3-310
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 63 of 102 Page
                                 ID #:855




                                  Exhibit 3                           3-311
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 64 of 102 Page
                                 ID #:856




                                  Exhibit 3                           3-312
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 65 of 102 Page
                                 ID #:857




                                  Exhibit 3                           3-313
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 66 of 102 Page
                                 ID #:858




                                  Exhibit 3                           3-314
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 67 of 102 Page
                                 ID #:859




                                  Exhibit 3                           3-315
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 68 of 102 Page
                                 ID #:860




                                  Exhibit 3                           3-316
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 69 of 102 Page
                                 ID #:861




                                  Exhibit 3                           3-317
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 70 of 102 Page
                                 ID #:862




                                  Exhibit 3                           3-318
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 71 of 102 Page
                                 ID #:863




                                  Exhibit 3                           3-319
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 72 of 102 Page
                                 ID #:864




                                  Exhibit 3                           3-320
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 73 of 102 Page
                                 ID #:865




                                  Exhibit 3                           3-321
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 74 of 102 Page
                                 ID #:866




                                  Exhibit 3                           3-322
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 75 of 102 Page
                                 ID #:867




                                  Exhibit 3                           3-323
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 76 of 102 Page
                                 ID #:868




                                  Exhibit 3                           3-324
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 77 of 102 Page
                                 ID #:869




                                  Exhibit 3                           3-325
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 78 of 102 Page
                                 ID #:870




                                  Exhibit 3                           3-326
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 79 of 102 Page
                                 ID #:871




                                  Exhibit 3                           3-327
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 80 of 102 Page
                                 ID #:872




                                  Exhibit 3                           3-328
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 81 of 102 Page
                                 ID #:873




                                  Exhibit 3                           3-329
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 82 of 102 Page
                                 ID #:874




                                  Exhibit 3                           3-330
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 83 of 102 Page
                                 ID #:875




                                  Exhibit 3                           3-331
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 84 of 102 Page
                                 ID #:876




                                  Exhibit 3                           3-332
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 85 of 102 Page
                                 ID #:877




                                  Exhibit 3                           3-333
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 86 of 102 Page
                                 ID #:878




                                  Exhibit 3                           3-334
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 87 of 102 Page
                                 ID #:879




                                  Exhibit 3                           3-335
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 88 of 102 Page
                                 ID #:880




                                  Exhibit 3                           3-336
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 89 of 102 Page
                                 ID #:881




                                  Exhibit 3                           3-337
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 90 of 102 Page
                                 ID #:882




                                  Exhibit 3                           3-338
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 91 of 102 Page
                                 ID #:883




                                  Exhibit 3                           3-339
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 92 of 102 Page
                                 ID #:884




                                  Exhibit 3                           3-340
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 93 of 102 Page
                                 ID #:885




                                  Exhibit 3                           3-341
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 94 of 102 Page
                                 ID #:886




                                  Exhibit 3                           3-342
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 95 of 102 Page
                                 ID #:887




                                  Exhibit 3                           3-343
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 96 of 102 Page
                                 ID #:888




                                  Exhibit 3                           3-344
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 97 of 102 Page
                                 ID #:889




                                  Exhibit 3                           3-345
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 98 of 102 Page
                                 ID #:890




                                  Exhibit 3                           3-346
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 99 of 102 Page
                                 ID #:891




                                  Exhibit 3                           3-347
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 100 of 102 Page
                                  ID #:892




                                  Exhibit 3                           3-348
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 101 of 102 Page
                                  ID #:893




                                  Exhibit 3                           3-349
Case 2:16-cv-09178-MWF-E   Document 37-6 Filed 01/23/18   Page 102 of 102 Page
                                  ID #:894




                                  Exhibit 3                           3-350
